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                                                                                                      EXHIBIT A
                                                                                        STANDARDIZED FUND ACCOUNTING REPORT

                                                                                        Receivership in SEC v. Digital Licensing, Inc., et al.
                                                                                           Civil Court Docket No. 2:23-cv-00482-RJS

                                                                                   Reporting Period - 07/28/2023 to 11/02/2023 1




Fund Accounting:
                                                                                                                Reporting Period                 Subtotal Prior Periods           Grand Total
Line 1       Beginning Balance (as of 07/28/2023)                                                                                      $0.00
             Increases in Fund Balance:
Line 2       Business Income                                                                                                         $0.00                                $0.00                       $0.00
Line 3       Cash and Securities                                                                                               $258,158.58                                $0.00                 $258,158.58
Line 4       Interest/Dividends Income                                                                                               $0.00                                $0.00                       $0.00
Line 5       Business Asset Liquidation                                                                                              $0.00                                $0.00                       $0.00
Line 6       Personal Asset Liquidation                                                                                              $0.00                                $0.00                       $0.00
Line 7       Third-Party Litigation Income                                                                                           $0.00                                $0.00                       $0.00
Line 8        Miscellaneous - Other                                                                                                  $0.00                                $0.00                       $0.00
  Line 8a     Total Funds Available (Lines 1-8)                                                                                $258,158.58                                $0.00                 $258,158.58
             Decreases in Fund Balance:
Line 9        Disbursements to Investors                                                                                               $0.00                              $0.00                      $0.00
Line 10       Disbursements for Receivership Operations                                                                                $0.00                              $0.00                      $0.00
  Line 10a   Disbursements to Receiver or Other Professionals                                                                          $0.00                              $0.00                      $0.00
  Line 10b   Business Asset Expenses                                                                                                   $0.00                              $0.00                      $0.00
  Line 10c   Personal Asset Expenses                                                                                                   $0.00                              $0.00                      $0.00
  Line 10d   Investment Expenses                                                                                                       $0.00                              $0.00                      $0.00
  Line 10e   Third-Party Litigation Expenses
             1. Attorneys Fees                                                                                                         $0.00                              $0.00                      $0.00
             2. Litigation Expenses                                                                                                    $0.00                              $0.00                      $0.00
             Total Third-Party Litigation Expenses                                                                                     $0.00                              $0.00                      $0.00
 Line 10f     Tax Administrator Fees and Bonds                                                                                         $0.00                              $0.00                       $0.00
 Line 10g    Federal and State Tax Payments                                                                                            $0.00                              $0.00                       $0.00
             Total Disbursements for Receivership Operations                                                                           $0.00                              $0.00                       $0.00

Line 11      Disbursements for Distribution Expenses Paid by the Fund:
  Line 11a   Distribution Plan Development Expenses:
             1. Fees                                                                                                                  $0.00                               $0.00                       $0.00
                    Fund Administration                                                                                               $0.00                               $0.00                       $0.00
                    Independent Distribution Consultant (IDC)                                                                         $0.00                               $0.00                       $0.00
                    Distribution Agent                                                                                                $0.00                               $0.00                       $0.00
                    Consultants                                                                                                       $0.00                               $0.00                       $0.00
                    Legal Advisers                                                                                                    $0.00                               $0.00                       $0.00
                    Tax Advisers                                                                                                      $0.00                               $0.00                       $0.00
             2. Administrative Expenses                                                                                               $0.00                               $0.00                       $0.00
             3. Miscellaneous                                                                                                         $0.00                               $0.00                       $0.00
             Total Plan Development Expenses                                                                                          $0.00                               $0.00                       $0.00
 Line 11b    Distribution Plan Implementation Expenses
             1. Fees                                                                                                                  $0.00                               $0.00                       $0.00
                   Fund Administration                                                                                                $0.00                               $0.00                       $0.00
                   Independent Distribution Consultant (IDC)                                                                          $0.00                               $0.00                       $0.00
                   Distribution Agent                                                                                                 $0.00                               $0.00                       $0.00
                    Consultants                                                                                                       $0.00                               $0.00                       $0.00
                    Legal Advisers                                                                                                    $0.00                               $0.00                       $0.00
                    Tax Advisers                                                                                                      $0.00                               $0.00                       $0.00
             2. Administrative Expenses                                                                                               $0.00                               $0.00                       $0.00
             3. Investor Identification                                                                                               $0.00                               $0.00                       $0.00
                    Notice/Publishing Approved Plan                                                                                   $0.00                               $0.00                       $0.00
                    Claimant Identification                                                                                           $0.00                               $0.00                       $0.00
                    Claims Processing                                                                                                 $0.00                               $0.00                       $0.00
             4. Fund Administrator Bond                                                                                               $0.00                               $0.00                       $0.00
             5. Miscellaneous                                                                                                         $0.00                               $0.00                       $0.00
             6. Federal Account for Investor Restitution                                                                              $0.00                               $0.00                       $0.00
             (FAIR) Reporting Expenses                                                                                                $0.00                               $0.00                       $0.00
             Total Plan Implementation Expenses                                                                                       $0.00                               $0.00                       $0.00
             Total Disbursements for Distribution Expenses Paid by the Fund                                                           $0.00                               $0.00                       $0.00
Line 12       Disbursements to Court/Other
  Line 12a      Investment Expenses/Court Registry Investment System (CRIS) Fees                                                     $0.00                                $0.00                       $0.00
  Line 12b      Federal Tax Payments                                                                                                 $0.00                                $0.00                       $0.00
  Line 12c     Morrison Cohen Defendants Pursuant to Court's Transition Order                                                  $258,158.58                                $0.00                 $258,158.58
             Total Disbursements to Court/Other:                                                                               $258,158.58                                $0.00                 $258,158.58
             Total Funds Disbursed (Line 9-11):                                                                                      $0.00                                $0.00                       $0.00
Line 13       Ending Balance (As of 11/03/2023):                                                                                     $0.00
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Line 14        Ending Balance of Fund - Net Assets:
  Line 14a      Cash & Cash Equivalents                                                                                                     $0.00                                   $0.00                                    $0.00
  Line 14b      Investments                                                                                                                 $0.00                                   $0.00                                    $0.00
  Line 14c      Other Assets or Uncleared Funds (Frozen Accounts)                                                                      See Note 1                              See Note 1                               See Note 1
               Total Ending Balance of Fund - Net Assets                                                                                    $0.00                                   $0.00                                    $0.00


Other Supplemental Information:                                                                                                 Reporting Period           Subtotal Prior Periods                         Grand Total
               Report of Items NOT To Be Paid by the Fund:
Line 15        Disbursements for Plan Administration Expenses Not Paid by the Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees                                                                                                                      $0.00                                    $0.00                                  $0.00
                   Fund Administrator                                                                                                       $0.00                                    $0.00                                  $0.00
                   IDC                                                                                                                      $0.00                                    $0.00                                  $0.00
                   Distribution Agent                                                                                                       $0.00                                    $0.00                                  $0.00
                   Consultants                                                                                                              $0.00                                    $0.00                                  $0.00
                   Legal Advisers                                                                                                           $0.00                                    $0.00                                  $0.00
                   Tax Advisers                                                                                                             $0.00                                    $0.00                                  $0.00
               2. Administrative Expenses                                                                                                   $0.00                                    $0.00                                  $0.00
               3. Miscellaneous                                                                                                             $0.00                                    $0.00                                  $0.00
               Total Plan Development Expenses Not Paid by the Fund                                                                         $0.00                                    $0.00                                  $0.00
    Line 15b   Plan Implementation Expenses Not Paid by the Fund:
               1. Fees                                                                                                                      $0.00                                    $0.00                                  $0.00
                    Fund Administrator                                                                                                      $0.00                                    $0.00                                  $0.00
                    IDC                                                                                                                     $0.00                                    $0.00                                  $0.00
                    Distribution Agent                                                                                                      $0.00                                    $0.00                                  $0.00
                    Consultants                                                                                                             $0.00                                    $0.00                                  $0.00
                    Legal Advisers                                                                                                          $0.00                                    $0.00                                  $0.00
                    Tax Advisers                                                                                                            $0.00                                    $0.00                                  $0.00
               2. Administrative Expenses                                                                                                   $0.00                                    $0.00                                  $0.00
               3. Investor Identification:                                                                                                  $0.00                                    $0.00                                  $0.00
                     Notice/Publishing Approved Plan                                                                                        $0.00                                    $0.00                                  $0.00
                     Claimant Identification                                                                                                $0.00                                    $0.00                                  $0.00
                     Claims Processing                                                                                                      $0.00                                    $0.00                                  $0.00
                     Web Site Maintenance/Call Center                                                                                       $0.00                                    $0.00                                  $0.00
               4. Fund Administrator Bond                                                                                                   $0.00                                    $0.00                                  $0.00
               5. Miscellaneous                                                                                                             $0.00                                    $0.00                                  $0.00
               6. FAIR Reporting Expenses                                                                                                   $0.00                                    $0.00                                  $0.00
               Total Plan Implementation Expenses Not Paid by the Fund                                                                      $0.00                                    $0.00                                  $0.00
    Line 15c   Tax Administrator Fees & Bonds Not Paid by the Fund                                                                          $0.00                                    $0.00                                  $0.00

               Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                                    $0.00                                    $0.00                                  $0.00
Line 16        Disbursements to Court/Other Not Paid by the Fund                                                                            $0.00                                    $0.00                                  $0.00
  Line 16a     Investment Expenses/CRIS Fees                                                                                                $0.00                                    $0.00                                  $0.00
  Line 16b     Federal Tax Payments                                                                                                         $0.00                                    $0.00                                  $0.00
               Total Disbursements to Court/Other Not Paid by Fund:                                                                         $0.00                                    $0.00                                  $0.00
Line 17        DC & State Tax Payments                                                                                                      $0.00                                    $0.00                                  $0.00
Line 18        No. of Claims:
  Line 18a     # of Claims Received This Reporting Period                                                                                        0                                      0                                       0
  Line 18b     # of Claims Received Since Inception of Fund                                                                                      0                                      0                                       0
Line 19        No. of Claimants/Investors
  Line 19a     # of Claimants/Investors Paid This Reporting Period                                                                               0                                      0                                       0
  Line 19b     # of Claimants/Investors Paid Since Inception of Fund                                                                             0                                      0                                       0

Notes:

1)             Non-cash business assets: 2                                                                               Units Received                         Unit Balance
               Binance-Peg (BSC-USD)                                                                                                 67,907.6672                                    0.0000
               SafeMoon (SFM)                                                                                                     1,328,208.3494                                    0.0000
               Binance Coin (BNB)                                                                                                       174.1113                                    0.0000
               Wrapped BNB (WBNB)                                                                                                       148.1535                                    0.0000
               Ether (ETH)                                                                                                                6.6058                                    0.0000
               PancakeSwap (Cake)                                                                                                         3.5000                                    0.0000
               Bitcoin (BTC)                                                                                                              0.0002                                    0.0000

Footnotes:
1
  The SFAR Period begins with the date of the Court's Temporary Receivership Order (ECF No. 10) and concludes on the date of the Temporary Receiver's Second Status Report Regarding Transition
   (ECF No. 202), confirming that the Receivership Team completed the wind down tasks summarized therein.
2
  The Morrison Cohen Defendants, as defined in the Application, previously sent the Receiver the digital assets identified above (rounded to four decimal places). All of these digital assets (net of transaction
   fees) have since been returned to the Morrison Cohen Defendants pursuant to the Court's Transition Order (ECF No. 187) and instructions received from Morrison Cohen.
2
  Morrison Cohen Defendants previously sent a quantity of GREEN Token to an address not under the Receiver's control and without prior notice. The Receiver identified a mechanism for the Morrison
   Cohen Parties to potentially recover these tokens, and is awaiting further instructions from them at this time.
